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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

JOHN E. JAUNICH, individually and             Case No. 20-cv-1567 (PAM/BRT)
on behalf of all others similarly situated,

              Plaintiff,

v.

STATE FARM LIFE INSURANCE
COMPANY,

              Defendant.



                       MEMORANDUM OF LAW
     IN SUPPORT OF PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
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       Plaintiff John E. Jaunich (“Mr. Jaunich” or “Plaintiff”) on behalf of himself and the

proposed Class of Minnesota policy owners, challenges Defendant State Farm Life

Insurance Company’s (“State Farm” or “Defendant”) interpretation and implementation of

its form universal life insurance policy—“Form 94030.” This case is well-suited for class

certification because it turns on the interpretation of a form contract under Minnesota law,

and State Farm’s uniform conduct toward all class members. In fact, two nearly identical

cases brought against State Farm on behalf of classes of Missouri and California policy

owners of the exact same policy form have been certified in the last few years. The case

involving Missouri Form 94030 owners was tried to jury verdict in 2018, see Vogt v. State

Farm Life Ins. Co., 2:16-cv-4170-NKL (W.D. Mo.) (“Vogt”), and affirmed on appeal by

the Eighth Circuit, see 963 F.3d 753 (8th Cir. 2020), and the United States Supreme Court

denied State Farm’s writ of certiorari seeking review of class certification, Dkt. 20-1008

(U.S. Apr. 19, 2021). The case involving California Form 94030 owners was certified and

the Ninth Circuit denied State Farm’s petition for Rule 23(f) review. Bally v. State Farm

Life Ins. Co., 335 F.R.D. 288 (N.D. Cal. 2020), Rule 23(f) petition denied, No. 20-80070

(9th Cir. July 22, 2020) (“Bally”). For this reason, Plaintiff’s motion affirmatively

addresses the issues that State Farm raised in Vogt and Bally (and Plaintiff expects State

Farm may raise here) with the goal of providing the Court context to these previously

litigated and resolved issues.

       State Farm’s Form 94030 life insurance policy (the “Policy”) is a “universal” life

insurance contract. Unlike standard “term” life insurance, universal life insurance is

designed to provide a lifetime death benefit to the insured plus an investment feature or


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savings component, called the “Account Value,” that allows policy owners to earn interest

on their accumulated premiums over time. The Policy provides for the deduction of certain

charges, including a percent of premium expense charge, taken by State Farm before the

net premium is deposited into each policy owner’s Account Value, as well as a “Monthly

Deduction” taken from the Account Value each month.

       The Policy provides that the “Monthly Deduction” includes the cost of insurance

charge (the “COI charge”) and the expense charge (the “Expense charge”). Plaintiff

contends in his Complaint that State Farm determines the COI charges improperly. The

Policy provides a formula to calculate the COI charge component of the Monthly

Deduction using cost of insurance rates (“COI rates”). State Farm promises its COI rates

are “for each policy year based on the Insured’s age on the policy anniversary, sex, and

applicable rate class,” and “can be adjusted for projected changes in mortality.” Policy

year, age sex, and rate class are factors associated with assessing an insured’s mortality

risk (the risk the insured will die). But State Farm does not base its COI rates solely on the

mortality factors identified in the Policy. Instead, State Farm loads its COI rates and

corresponding COI charges with unlisted, non-mortality factors, including expenses and

profit, in breach of the Policy. This case therefore presents a predominating, common

question of liability, the answer to which will resolve thousands of claims: whether State

Farm breached the Policy by taking funds from policy owners without authorization under

the Policy’s relevant terms.

       Like liability, damages can be readily determined on a class-wide basis by

calculating the lost Account Value (with interest at the applicable policy rate) for each


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policy owner resulting from the COI overcharges. The excess deductions are calculated

using the same formula for every class member—simply removing from the COI rates any

loads in excess of State Farm’s mortality expectations or, in other words, subtracting the

non-mortality component attributable to State Farm’s use of impermissible factors in

setting COI rates. By way of example, by loadings its COI rates with unlisted factors at

pricing and repricing, State Farm deprived Mr. Jaunich of             in Account Value due

to the excessive deductions. These amounts can be similarly and systematically calculated

for each class member and aggregated for the entire Class, as Plaintiff’s expert, Scott Witt,

did for the Missouri and California classes in Vogt and Bally, and which he can do for the

putative Minnesota class.

                 STATEMENT OF THE ISSUES TO BE DECIDED

       1.     Does Plaintiff satisfy the requirements of Federal Rule of Civil Procedure

23(a) and (b)(3) for certification of a class of current and former owners of State Farm’s

Form 94030 policy issued in the State of Minnesota, for purposes of determining State

Farm’s liability for breach of contract and the resulting monetary damage suffered by each

class member?

       2.     Does Plaintiff satisfy the requirements of Federal Rule of Civil Procedure

23(a) and (b)(2) for certification of a class of current and former owners of State Farm’s

Form 94030 policy issued in the State of Minnesota, for purposes of declaring the meaning

of the Policy’s COI rates and Expense charge provisions and issuing an injunction

enjoining Defendant from continuing to engage in conduct in breach of the Policies, and




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ordering Defendants to comply with terms of the Policies in regard to its assessment of

charges against Plaintiff and Class members’ Account Values?

                                  STATEMENT OF FACTS

I.       THE LIFE INSURANCE CONTRACTS BETWEEN STATE FARM AND
         THE CLASS.

         State Farm began issuing Form 94030 universal life insurance policies in Minnesota

in 1994. Declaration of Scott J. Witt (“Witt Dec.”), ¶ 48; id. at Ex. I1 (Holzbauer Dep.),

142:10-20. Mr. Jaunich purchased his Form 94030 Policy in Delano, Minnesota on

December 7, 1995. See application attached to the Policy.2 Although existing policies

remain in force, State Farm ceased issuing new Form 94030 policies in Minnesota in 2005.

Witt Dec., ¶ 48.

         The Policy is a valid and enforceable contract between each policy owner and State

Farm. Dkt. 1 (Compl.), ¶ 13. Its terms are not subject to individual negotiation and are

materially the same for all policy owners, and the Policy cannot be altered by the agent’s

representations at the time of sale, or by any other discussions or writings. Policy at 11

(“The [P]olicy is the entire contract,” and it consists of “the Basic Plan, any amendments,

endorsements, and riders, and a copy of the application.”). State Farm’s obligations (like

the policy owner’s) cannot be obviated by informal consent, waiver, or some other act

because “[o]nly an officer has the right to change this [P]olicy. No agent has the authority

to change the [P]olicy or to waive any of its terms.” Id.


1
 All alphabetical references to exhibits refer to the exhibits to the Declaration and Report
of Scott J. Witt filed simultaneously herewith.
2
    Plaintiff’s Policy is attached as Ex. B to the Declaration of Mr. Witt.


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       The Policy is a “universal” life insurance policy. In contrast to term life insurance,

which provides only a death benefit, the Policy includes an Account Value where, after

deduction of a premium expense charge, premiums are deposited and accumulate interest

at a fixed rate of no less than four percent (4%), much like a savings account. Id.; see Witt

Dec., ¶¶ 18-27.

II.    THE POLICY IDENTIFIES SPECIFIC CHARGES STATE FARM IS
       AUTHORIZED TO DEDUCT FROM ACCOUNT VALUES.

       The Policy authorizes State Farm to take from the Policy’s Account Value a

Monthly Deduction comprised of the separately identified: (a) COI charge; (b) charges for

any riders; and (c) the $5.00 Expense charge. Policy at 9.

       A.     The COI Charge is a mortality charge.

       The Policy provides that the COI charge is determined by multiplying the COI rate

by the Policy’s net amount at risk (the amount by which the death benefit amount exceeds

the Account Value; in other words, the net amount State Farm will have to pay the

beneficiary if the insured dies). Witt Dec., ¶ 24; Policy at 10. The Policy then states that

COI rates “for each policy year are based on the Insured’s age on the policy anniversary,

sex, and applicable rate class,” and that “[s]uch rates can be adjusted for projected changes

in mortality.” Id. The factors identified in the Policy are characteristics commonly

understood and used within the life insurance industry to determine the mortality

expectations for an insured. Witt Dec., ¶¶ 29-31; id. at Ex. F (Phipps Tr.), 24:24-25:9; id.

at Ex. E (Streily Tr.), 155:19-158:22, 159:6-160:20, 196:6-197:23 ; see also Vogt, 963 F.3d

at 761 (recognizing that age, sex, and applicable rate class are mortality factors); Alleman



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v. State Farm Life Ins. Co., 334 F. App’x 470, 472 (3d Cir. 2009) (noting that age and sex

are mortality factors); In re Conseco Life Ins. Co. Life Trend Ins. Mktg. & Sales Practice

Litig., 920 F. Supp. 2d 1050, 1061 (N.D. Cal. 2013), vacated pursuant to settlement, 2013

WL 10349975 (N.D. Cal. Nov. 8, 2013) (“Because age and sex are the guiding factors in

the lifespan of a person, a layperson would ordinarily attach the rates to mortality.”).

       State Farm does not disclose to policyholders the actual COI rates or factors

included therein. Witt Dec., Ex. I (Holzbauer Tr.), 178:21-25; id. at Ex. E (Streily Tr.),

124:13-23; id. at Ex. C (annual statements); id. at Ex. D (Policy illustration) ; see also Vogt,

963 F.3d at 765 (noting that information regarding COI charges in annual statements sent

to Plaintiff from State Farm are “insufficient to put such a person on notice and trigger the

running of the statute of limitations.”); Bally, 335 F.R.D. 288, 304 (N.D. Cal. 2020)

(granting certification of a California class, stating “State Farm does not adduce any

evidence to show that ‘policyholder[s] would have been on notice that State Farm was

considering unlisted variables in calculation [of] the COI’”).

       B.      The Policy sets fixed expense deductions.

       The Policy separately authorizes State Farm to deduct a 5% premium expense

charge from each premium paid as well as the fixed monthly Expense charge of $5.00.

Policy at 3.

       C.      State Farm increases COI charges with undisclosed loads.

       Mr. Jaunich contends the Policy provision requiring that monthly COI rates “for

each policy year” be “based on the Insured’s age on the Policy anniversary, sex, and

applicable rate class” means exactly what it says: that State Farm must determine COI rates


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using only the listed factors, not undisclosed factors to increase the COI rate. The Vogt

court agreed with Plaintiff’s interpretation of the Policy, and that interpretation was

affirmed on appeal by the Eighth Circuit. See Vogt, 963 F.3d at 763-64.



                                                     . See Witt Dec., ¶¶ 29-40; id. at Ex. E

(Streily Tr.), 151:23-152:15, 160:15-20; id. at Ex. I (Holzbauer Tr.), 145:15-19.



                                                       . See Vogt, Dkt. 335; Witt Dec., Ex.

G (New Jersey Actuarial Memorandum) at 5; id. at Ex. E (Streily Tr.), 144:20-24; 224:6-

18 (



                                                          ); see also Witt Dec., ¶¶ 41-45.

Inclusion of these undisclosed factors has a substantial impact on the amounts deducted

each month from policy owners’ Account Values. On the same policy form and identical

pricing process (See id., ¶ 10), a jury found State Farm’s overcharges caused over $34

million in lost Account Value for a class of approximately 24,000 Missouri policy owners.

Vogt, 963 F.3d at 761.

       In this case, the loading of the COI rates was similarly substantial. For instance,




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                                                       . Witt Dec., ¶ 51.

       Because these Policy overcharges result from State Farm’s uniform administration

of the Policy, all policy owners are subject to the same set of loaded COI rates. See id., ¶

10, id. at Ex. E (Streily Tr.), 140:3-145:10, 146:17-147:5; 171:21-172:11.

III.   ARGUMENT

       Plaintiff seeks to certify claims for breach of contract (Count I – Cost of Insurance

Charge and Count II – Expense Charge), and declaratory and injunctive relief (Count IV).

Dkt. 1. Plaintiff now moves for an order certifying the following class (“the Class”):

              All persons who own or owned a universal life policy issued
              by State Farm on its policy form 94030 in the State of
              Minnesota whose policy was in-force on or after January 1,
              2002 and who was subject to at least one monthly deduction.3

       Two courts have already found class certification appropriate in nearly identical

cases involving the same defendant and policy form at issue here. The Western District of

Missouri in Vogt certified a class of Missouri policy owners making the same allegations

on the Form 94030 policy, and the Eighth Circuit affirmed class certification on appeal and

the United States Supreme Court denied State Farm’s petition for certiorari challenging

class certification. Vogt v. State Farm Life Ins. Co., No. 2:16-cv-04170-NKL, 2018 WL



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  Excluded from the Class are: State Farm; any entity in which State Farm has a controlling
interest; any of the officers, directors, or employees of State Farm and their immediate
family, the legal representatives, heirs, successors, and assigns of State Farm; anyone
employed with Plaintiff’s counsel’s firms; any Judge to whom this case is assigned, and
his or her immediate family; and policies that insured males with an issue age of zero and
terminated in the first policy year.


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1955425, at *6 (W.D. Mo. April 24, 2018), aff’d 963 F.3d 753, 766-68 (8th Cir. 2020),

cert. denied sub nom., No. 20-1008, 2021 WL 1521013 (U.S. Apr. 19, 2021). The Northern

District of California in Bally likewise certified a class of California policy owners making

the same allegations on the Form 94030 policy as are asserted here, and State Farm’s Rule

23(f) petition for permission to appeal was denied. Bally, 335 F.R.D. at 305, Rule 23(f)

appeal denied, No. 20-80070 (9th Cir. July 22, 2020).

       Moreover, courts frequently certify class actions, like this one, alleging breaches of

the cost of insurance provisions of standardized life insurance policies. See, e.g., Spegele

v. USAA Life Ins. Co., 336 F.R.D. 537 (W.D. Tex. 2020) (“USAA COI”); Feller v.

Transamerica Life Ins. Co., No. 16-cv-01378, 2017 WL 6496803 (C.D. Cal. Dec. 11, 2017)

(“Transamerica COI”); In re Conseco Life Ins. Co. LifeTrend Ins. Sales & Mktg. Litig.,

270 F.R.D. 521, 533 (N.D. Cal. 2010); In re Conseco Life Ins. Co. Cost of Ins. Litig., No.

ML 04-1610, 2005 WL 5678842, at **4, 9 (C.D. Cal. Apr. 26, 2005); Larson v. John

Hancock Life Ins. Co., No. RG16813803, 2017 WL 4284163 (Cal. Super. Ct. March 23,

2017) (“John Hancock COI”); Fleisher v. Phoenix Life Ins. Co., No. 11-cv-8405, 2013 WL

12224042, at *13, *18 (S.D.N.Y. July 12, 2013) (“Phoenix COI”); Hanks v. Lincoln Life

& Annuity Company of New York, 330 F.R.D. 374 (S.D.N.Y. 2019) (“Lincoln Life COI”);

Lee v. Allstate Life Ins. Co., 361 Ill. App. 3d 970 (Ill. Ct. App. 2005). Class certification

here is likewise proper.

IV.    STANDARD ON CLASS CERTIFICATION

       A motion for class certification under Federal Rule of Civil Procedure 23 involves

a two-part analysis. First, under Rule 23(a), the proposed class must satisfy the prerequisite


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requirements of numerosity, commonality, typicality, and fair and adequate representation.

Stuart v. State Farm Fire and Casualty Co., 910 F.3d 371, 374 (8th Cir. 2018). Second, the

proposed class must meet at least one of the three requirements of Rule 23(b). Lockwood

Motors, Inc. v. Gen. Motors Corp., 162 F.R.D. 569, 579 (D. Minn. 1995). “District courts

ultimately retain broad discretion in determining whether or not to certify a class under

Rule 23.” Id. at 573.

       In this case, the proposed Class meets all the requirements of Rule 23(a) as well as

the requirements in Rule 23(b)(2) and Rule 23(b)(3).

V.     THE CLASS MEETS EACH OF THE REQUIREMENTS OF RULE 23(a).

       A.     The Class Satisfies the Numerosity Requirement.

       Rule 23(a)(1) requires that the class be sufficiently numerous such that joinder of

all members would be impracticable. Portz v. St. Cloud State Univ., 297 F. Supp.3d 929,

944 (D. Minn. 2018). In considering the numerosity requirement, the court considers “such

factors as the size of the class, the ease of identifying its members and determining their

addresses, the facility of making service on them if joined, their geographic dispersion and

whether the size of the individual claims is so small as to inhibit individuals from separately

pursuing their own claims.” Id. (quoting Glenn v. Daddy Rocks, Inc., 203 F.R.D. 425, 429

(D. Minn. 2001)). Typically, “a putative class size of forty will support a finding of

numerosity.” Id. (internal quotations omitted). The proposed Class is sufficiently

numerous. State Farm’s records show there are over             policies in the proposed class.

Witt Dec., ¶ 49. These Minnesota-issued Policies are easily identifiable from State Farm’s

data. Id.


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       B.     There are Common Questions of Law and Fact.

       Rule 23(a)(2) requires that there be “questions of law or fact common to the class.”

A plaintiff must show that the claims “depend upon a common contention … of such a

nature that it is capable of classwide resolution—which means that determination of its

truth or falsity will resolve an issue that is central to the validity of each one of the claims

in one stroke.” Portz, 297 F. Supp.3d at 945 (quoting Wal-Mart Stores, Inc. v. Dukes, 564

U.S. 338, 349-50 (2011)) (internal marks omitted). But commonality “does not require that

every question of law or fact be common to every member of the class … and may be

satisfied, for example, where the question of law linking the class members is substantially

related to the resolution of the litigation even though the individuals are not identically

situated.” Paxton v. Union Nat. Bank, 688 F.2d 552, 561 (8th Cir. 1982) (internal citations

and quotations omitted). “[F]or purposes of Rule 23(a) even a single common question will

do.” Wal-Mart Stores, Inc., 564 U.S. at 359 (internal citations and quotations omitted).

       Plaintiff alleges that State Farm made and continues to make excessive deductions

for COI charges. Plaintiff asserts that State Farm has determined COI rates in a manner not

authorized by the Policy, and the resulting deductions from Account Values exceed the

amounts permitted by the Policy’s terms. Common evidence of State Farm’s uniform

methodology of calculating deductions on a common form Policy will establish whether

State Farm is liable for breach of contract as a result of its failure to determine COI rates

using only the listed mortality factors and inflation of the COI charges deducted from

policy owners’ Account Values with undisclosed loads (Count I). Likewise, common

evidence will determine whether State Farm is deducting undisclosed expenses through the


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COI charge, whether the Policy limits the amount of expenses State Farm is permitted to

deduct on a monthly basis to the fixed amount of the Expense charge, and whether State

Farm is therefore in breach of its contracts with policy owners (Count II).

       Each claim depends on a common course of conduct—State Farm entered into

identical contracts and uniformly loaded undisclosed factors into its COI rates for all policy

owners. See Vogt, 2018 WL 1955425, at *3 (finding commonality satisfied because

plaintiff’s claims all turned on interpretation of the standard form policy and State Farm’s

uniform incorporation of non-mortality factors into its COI rates); Bally, 335 F.R.D. at

301-02 (finding commonality satisfied, rejecting State Farm’s argument that individualized

sales presentations prior to each class member’s purchase of the Policy would result in

different policy interpretations of each class member’s standard form policy); USAA COI,

336 F.R.D. at 552 (finding commonality satisfied because “whether Defendant used factors

outside those enumerated in the Class Policies to determine its COI Rates will rely on the

same evidence throughout the class”); Yue v. Conseco Life Ins. Co., 282 F.R.D. 469, 476

(C.D. Cal. 2012) (whether uniform, standard language contained in all insurance policies

permitted insurer’s adjustment of COI rates was a common question); Transamerica COI,

2017 WL 6496803, at *6 (“the issue of breach … is also common to all prospective class

members”); Phoenix COI, 2013 WL 12224042, at *8 (“[B]reach of contract is the central

issue in the case brought by [plaintiff] on behalf of the [] Class ….”) (emphasis in original);

John Hancock COI, 2017 WL 4284163, at *6 (finding that “liability issues are exclusively

common issues uniting the class”); Lincoln Life COI, 330 F.R.D. at 380 (finding

commonality met where claims “turn on common contentions of what factors … Lincoln


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Life used to calculate the … COI rate increase and whether insurance contracts allow for a

rate increase based on those factors”).

         So, for every putative class member, the following questions of law are common:

                     Is State Farm limited to using only the listed mortality factors when
                      determining COI rates?

                     Is State Farm permitted to deduct more in expenses than provided by
                      the Policy’s Expense charge?

         Moreover, proving this case is dependent on similarly common questions of fact

because State Farm calculated and took its deductions in the same manner for all policy

owners:

                     Did State Farm use factors not specified in the Policy to determine
                      its COI rates?

                     Did State Farm deduct expenses through the COI Charge?

                     Did State Farm take more money from policy owners’ Account
                      Values than it was authorized to take?

         Each of the foregoing questions is common to each policy owner and will be

answered the same, one way or the other, for each member of the Class because State

Farm’s conduct was consistent as to all policy owners.4 Witt Dec., ¶ 10; id. at Ex. E (Streily

Tr.), 166:7-22, 171:21-172:11. Courts routinely recognize that when the answer to a

question turns on the defendant’s conduct it presents a common question.5 For these


4
    At a minimum, these common questions support certification under Rule 23(c)(4).
5
  See, e.g., Teva Pharm. USA, Inc. v. Abbott Labs., 252 F.R.D. 213, 225 (D. Del. 2008)
(commonality test satisfied because questions generally focused on defendants’ conduct
and, as such, were common to all class members); Doran v. Mo. Dep’t of Soc. Servs., 251
F.R.D. 401, 404 (W.D. Mo. 2008) (“In determining commonality, the appropriate focus is
[on] the conduct of the defendant[s], not the plaintiffs.”) (citing cases; internal quotations

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reasons, each of the foregoing questions is common to each policy owner and will be

answered the same, one way or the other, for each member of the Class.

       C.     Plaintiff’s Claims are Typical of Those of the Class.

       The typicality requirement is satisfied when the claims defenses of the

representative party are typical of those of the class. Rule 23(a)(3). The requirement “is

fairly easily met so long as other class members have claims similar to the named plaintiff.”

DeBoer v. Mellon Mortg. Co., 64 F.3d 1171, 1174 (8th Cir. 1995). In assessing typicality,

courts consider whether the named plaintiff’s claim “arises from the same event or course

of conduct as the class claims, and gives rise to the same legal or remedial theory.” Alpern

v. Utilicorp United, Inc., 84 F.3d 1525, 1540 (8th Cir. 1996).

       The typicality requirement is easily satisfied here because Plaintiff asserts the same

claims individually that he asserts on behalf of the Class. Everyone was subject to

materially identical policy language and State Farm performed (and allegedly breached)

the Policy in the same way for each class member. See Vogt, 2018 WL 1955425, at *5

(finding plaintiff’s claims typical of those of the class because the claims arose from and

related to the interpretation and application of the policy and the policy language, and State

Farm’s methodology for determining COI rates was uniform for all class members); Bally,



omitted); Schwartz v. Upper Deck Co., 183 F.R.D. 672, 683 (S.D. Cal. 1999) (Rule 23(a)(2)
focus is on defendant’s conduct); Rozema v. Marshfield Clinic, 174 F.R.D. 425, 439 (W.D.
Wis. 1997) (“[B]ecause proof of liability will focus on defendants’ conduct and not
defendants’ relationship with individual plaintiffs, it is a common question to the entire
proposed class, and sufficient to satisfy Rule 23(a)(2).”); Crissen v. Gupta, No. 2:12-CV-
00355-JMS, 2014 WL 4129586, at *15 (S.D. Ind. Aug. 19, 2014) (“The commonality
requirement focuses on Defendants’ conduct[.]”).


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335 F.R.D. at 302 (same); USAA COI, 336 F.R.D. at 552 (finding typicality satisfied

because “Plaintiff’s Policy and the Class Policies are materially identical, and Defendant’s

alleged breach of these policies was uniform for both Plaintiff and the proposed class.”);

John Hancock COI, 2017 WL 4284163, at *10 (certifying class of policy owners because

the plaintiff’s claims were “typical, indeed, substantially identical, to those of the class”

because the plaintiff and the class agreed to the same policy language); Lincoln Life COI,

330 F.R.D. at 380-81; Transamerica COI, 2017 WL 6496803, at *8.

       D.      Plaintiff satisfies the adequacy requirement.

       Adequacy requires that the class representative and class counsel “fairly and

adequately protect the interests of the class.” Rule 23(a)(4). “In order to satisfy the

adequacy requirement, the Plaintiffs must show that ‘(1) the representatives and their

attorneys are able and willing to prosecute the action competently and vigorously and (2)

each representative’s interests are sufficiently similar to those of the class that it is unlikely

that their goals and viewpoints will diverge.” In re Hartford Sales Practices Litig., 192

F.R.D. 592, 604 (D. Minn. 1999) (quoting In re Potash Antitrust Litig., 159 F.R.D. 682,

692 (D. Minn. 1995)). Plaintiff satisfies the adequacy requirement.

       First, Plaintiff’s claims are consistent with those of the Class. He claims he was

overcharged because State Farm failed to keep its promises in the Policy and to act within

its authority in making deductions from his Account Value. Because the terms of the Policy

are the same for everyone and State Farm priced it uniformly, if State Farm used

unauthorized factors to increase COI rates, Plaintiff and all other policy owners suffered

excessive COI charges.


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      Second, Plaintiff has sufficient interest in the case to ensure vigorous representation.

He has a personal monetary interest in recouping the overcharges. Indeed, Plaintiff’s

expert’s analysis is that Plaintiff was harmed in the amount of                (the total lost

Account Value resulting from wrongful COI deductions). Witt Dec., ¶ 61.

      Third, Plaintiff has hired competent, experienced, and qualified counsel with

expertise in class actions and cost of insurance cases, who have and will continue to

prosecute the class claims vigorously. Norman Siegel, John Schirger, and the attorneys at

Stueve Siegel Hanson and Miller Schirger have significant experience in prosecuting class

litigation, including around twenty COI cases. The firms have tried class-action lawsuits

to successful verdicts and have achieved significant monetary settlements for class

members. In June 2018, Stueve Siegel and Miller Schirger successfully tried the Vogt case,

a class action on the same Form 94030 policy at issue here, securing a jury verdict of

$34,333,495.81 for Missouri policy owners. See Vogt, Dkt. 358 & 360. These attorneys

subsequently defended that class judgment on appeal. Moreover, Stueve Siegel and Miller

Schirger have successfully secured settlements on behalf of policy owners in similar cases

against Lincoln National Life Insurance Company, and John Hancock Life Insurance

Company. See Schirger Declaration at ¶ 5 (filed contemporaneously herewith).

      Mr. Siegel and other lawyers in his firm have been appointed as class counsel in

dozens of class actions throughout the country. See Siegel Declaration filed

contemporaneously herewith. Likewise, Miller Schirger has significant experience

handling complex insurance contract disputes and brings needed experience in that area to

the case. See Schirger Declaration. Lockridge Grindal Nauen likewise has extensive


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experience handling complex litigation in state and federal court. See Riebel Declaration

filed contemporaneously herewith.

       Fourth, as explained below, there are no conflicts among the class representative,

the proposed class, or class counsel.

              1.     That State Farm’s actual COI rates are, at rare times, lower than its
                     morality rates does not create an intra-class conflict.

       Plaintiff anticipates that State Farm will reassert is arguments made in Vogt and

Bally that there is an intra-class conflict because some class members would be worse off

if State Farm charged mortality-only rates. In Vogt and Bally, Mr. Witt’s class-wide

damages model revealed some months for some class members who had held their policies

for many years where State Farm’s actual COI rates were lower than what would have been

charged if State Farm had used the contractual, mortality-only rates. The parties referred

to this event as the “cross-over” because State Farm’s mortality-only rates crossed-over

(became higher than) its charged COI rates. Although Plaintiff disputes that State Farm is

entitled to an offset for this so-called “cross-over” credit, this merits question need not be

resolved now. There is no risk, however, that this issue will create an intra-class conflict.

       In Vogt, State Farm argued to the jury that it should get an offset against damages

for those months where State Farm charged some policy owners less than it was permitted

to under the Policy. The jury agreed with State Farm and awarded damages that included

an offset.6 Giving State Farm this “cross-over” offset lowered total damages to the class by


6
 In Vogt, the plaintiff argued that this issue should not be submitted to the jury because
State Farm had shown no legal basis to recover “undercharges” from its policy owners. In
particular, the plaintiff argued that State Farm’s decision to not breach the Policy in certain

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less than 3%. See Schirger Dec., Ex. C (excerpts of transcript of Vogt Trial, hereafter “Vogt

Trial Tr.”), 132:21-23, 137:17-137:7, 139:19-140:3. After applying the credit, a mere 29

(out of the nearly 24,000) class members were determined to have suffered no net loss and

received a judgment of $0. See Vogt, Dkt. 377-3 (Vogt Trial Ex. 242); Schirger Dec., Ex.

C (Vogt Trial Tr.), 417:12-15. This result in Vogt illustrates two things: 1) the incidence of

State Farm undercharging class members is extremely rare and has a minimal impact on

the damages class members have suffered, and 2) no class member could be made worse

off by the litigation. For example, the 29 individuals who did not suffer a net overcharge

in Vogt because the “cross-over” credit fully offset overcharges from loaded COI rates,

took nothing in the litigation, putting them in the same position economically as they would

have been had no case been brought. Thus, like Vogt, the Bally court concluded that the

fact that State Farm had charged less than it was authorized to in some instances did not

affect the reliability of Mr. Witt’s damages model or create an intra-class conflict. Bally,

335 F.R.D. at 299-300, 303.

       State Farm nevertheless argued that this “cross-over” phenomenon presented the

prospect that some current policy owners would be harmed if State Farm changed its rates



months could not serve as the basis for assessing belated charges against policy owners,
especially where State Farm had not identified any provision of the Policy that would allow
it to retroactively recover amounts it could have but did not charge policy owners through
the COI charge, or that would allow it to make larger COI deductions in one month because
it made lower COI deductions in another month. See Schirger Dec., Ex. B (Plaintiff’s
Motion in Limine filed in Vogt, Dkt. 265) at 8-9. Mr. Witt prepared a damages calculation
that accommodated State Farm’s offset defense, Schirger Dec., Ex. C (Vogt Trial Tr.),
132:19-24, which the jury adopted by awarding the exact amount of damages reflected in
that calculation.


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to match its mortality rates. The Vogt court rejected that argument because the lawsuit did

not set rates going forward, and the Eighth Circuit affirmed. Vogt, 2018 WL 4937069, at

*3, aff’d 963 F.3d at 767-78. And where State Farm had already taken the position that it

could set rates up to the Policy’s maximum rates, the lawsuit benefited all class members

by lowering the ceiling of what State Farm was permitted to charge. Id. Plaintiff’s

interpretation, which merely requires State Farm to remove undisclosed, non-mortality

loads from COI rates, simply cannot harm any class member. Thus, the purported “cross-

over” does not create any risk of intra-class conflict.

              2.     State Farm’s contention that it “pooled” its mortality rates does not
                     create an intra-class conflict.

       Similarly, Plaintiff anticipates that State Farm will argue that Mr. Witt’s use of

unpooled mortality rates to calculate damages creates an intra-class conflict. At the Vogt

trial, the key issue for the jury was determining what rates reflected State Farm’s mortality

expectations for the class. The plaintiff argued that State Farm should have used rates

reflecting those mortality expectations as its COI rates because those rates were determined

using only the factors listed in the Policy. State Farm identified its mortality rates in the

actuarial memoranda for Form 94030. At initial pricing, these rates were identified as a

percentage of the SF88-91 mortality rate table7—an “unpooled” mortality table—meaning

the table assigns a different mortality risk depending on how long it has been since a given




7
  The SF88-91 is a table internal to State Farm and was used by State Farm to determine
its “pricing” mortality for Form 94030.


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policy was issued. Witt Dec., ¶ 38.8 State Farm argued to the jury, however, that it had

“pooled” the mortality rates shown in the SF88-91 before loading them with expenses and

profits, and therefore, that damages should be determined using “pooled” mortality rates.

A pooled rate table assigns the same mortality risk to each policy owner of the same age,

sex, and rate class, regardless of how many years the policy has been held. Id. Using State

Farm’s litigation-created, pooled mortality estimate9 to calculate damages would have

reduced the overall damages to the class by $10,900,554.88. Schirger Dec., Ex. C (Vogt

Trial Tr.), 132:21-23, 141:13-16. The jury rejected State Farm’s contention that it pooled

its mortality rates, and awarded damages using the unpooled morality rates.10 See Vogt,

963 F.3d at 768 (“Although time and again throughout this appeal State Farm reaffirms its

reluctance to accept the jury’s finding on this point, the fact remains that the jury concluded

State Farm did not pool its mortality rates and any argument premised on pooling must

fail.”); Bally, 335 F.R.D. at 299 (“When faced with this question of fact in Vogt, the jury

found that State Farm used the unpooled mortality rates to calculate the ultimate COI

charges.”).




8
  The length of time elapsed since underwriting affects mortality risk because health
conditions not present at the time of underwriting can develop. See Schirger Dec., Ex. C
(Vogt Trial Tr.), 134:8-23.
9
 Notably, in Vogt, plaintiff chose not to challenge State Farm’s unreliable “pooled” table,
as State Farm had provided no evidence (until jury-rejected trial testimony) of its use.
10
  Mr. Witt alternatively calculated a lost Account Value total that incorporated pooled
mortality rates, Schirger Dec., Ex. C (Vogt Trial Tr.), 141:5-12, which the jury rejected by
awarding the damages plaintiff requested using unpooled mortality rates (but providing
State Farm an offset).


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       Thus, the theory on which the plaintiff proceeded and prevailed at trial (that State

Farm’s mortality rates were not “pooled”) maximized total class damages. However, State

Farm argued that some class members’ damages would actually have been higher if

plaintiff had used pooled mortality rates in the damages model, and therefore, that there

was an intra-class conflict between those class members and the rest of the class. Plaintiff

anticipates State Farm will make the same argument here, and again, it should be rejected.

       First, in certifying the classes in Vogt and Bally, those courts found that the question

whether State Farm pooled its mortality rates has a common answer for all class members.

Vogt, 2018 WL 1955425, at *4 (whether State Farm used a pooled mortality rate “will have

a common answer for all of the members of the proposed class”); Bally, 335 F.R.D. at 300

(whether State Farm pooled its mortality rates “amounts to a factual dispute that does not

create an intra-class conflict”). Thus, this common factual issue does not affect the

propriety of class certification. Id.; cf. Krueger v. Ameriprise Fin., Inc., 304 F.R.D. 559,

575 (D. Minn. 2014) (evidence and the law will determine when the breach occurred,

“irrespective of the ‘preferred’ or ‘optimal’” date for any single class member).

       Second, State Farm never produced a mortality table containing pooled rates, and

never produced credible evidence that it did in fact pool its mortality rates before loading

them with expenses and profits. It would have been detrimental to all class members for

the plaintiff to adopt State Farm’s unsupported position. Schirger Dec., Ex. C (Vogt Trial

Tr.), 141:21-142:13. As the Vogt court found in later refusing to decertify the class, plaintiff

“cannot be faulted for failing to argue a fact that was found untrue.” Vogt, 2018 WL

4937069, at *3.


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       Third, State Farm is wrong that an intra-class conflict is created simply because

class members may have differing preferences for how damages are calculated. Vogt, 963

F.3d at 768 (“[E]ven if there are slightly divergent theories that maximize damages for

certain members of the class, ‘this slight divergence is greatly outweighed by shared

interests in establishing [defendant’s] liability.’”) (quoting DiFelice v. U.S. Airways, Inc.,

235 F.R.D. 70, 79 (E.D. Va. 2006); citing Newberg on Class Actions § 3:62 (5th ed.)

(“Courts generally reject the argument that an intra-class conflict exists when divergent

theories of liability would benefit different groups within the class,” including where

“different class members desir[e] different methods of calculating damages.”)); Blackie v.

Barrack, 524 F.2d 891, 909 (9th Cir. 1975) (“[T]he conflict [over the calculation of

damages], if any, is peripheral, and substantially outweighed by the class members’

common interests.”).

       Fourth, State Farm’s argument that its unpooled mortality rates are not the

appropriate rates with which to calculate damages because its actual COI rates were pooled

is a legal challenge that will have the same answer for all class members, but notably, this

argument was rejected by the Vogt and Bally courts. Vogt, 2018 WL 1747336, at *6 (“By

referencing both the ‘policy year’ and the ‘policy anniversary’ in describing the monthly

COI rates, the Policy incorporates the duration of the policy as a factor affecting those

rates.”); Bally, 335 F.R.D. at 299 (“Form 94030 references ‘policy year’ in the provision

describing the factors that go into the monthly COI charges, suggesting that Policy year

was incorporated into the pricing scheme.”).




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       Fifth, because the jury in Vogt found as a matter of fact that State Farm did not pool

its mortality rates, Plaintiff will argue that State Farm is precluded from arguing that it did

pool its mortality rates. In determining whether issue preclusion applies, “(1) whether the

issue decided in the prior adjudication was identical to the issue presented in the present

action; (2) whether the prior adjudication resulted in a judgment on the merits; (3) whether

the party against whom estoppel is asserted was a party or was in privity with a party to the

prior adjudication; and (4) whether the party against whom collateral estoppel is asserted

had a full and fair opportunity to litigate the issue in the prior suit.” James v. Paul, 49

S.W.3d 678, 682 (Mo. 2001).11 Each of these factors applies here. The issue of whether

State Farm is collaterally estopped from arguing it pooled its mortality rates need not be

decided now, but it does provide further support for Plaintiff’s argument that he is an

adequate representative of the Class in supporting a damages model that uses unpooled

mortality rates.

              3.     State Farm’s contention that it differentiated for tobacco use does not
                     create an intra-class conflict.

       Plaintiff also anticipates State Farm will argue that Mr. Witt’s calculation of

damages using mortality rates that do not differentiate between tobacco users and non-




11
   The law of issue preclusion in Missouri applies here. See C.H. Robinson Worldwide, Inc.
v. Lobrano, No. 10—4966, 2011 WL 2912700, at *2 (D. Minn. July 19, 2011) (“The effect
of a decision rendered by a federal court sitting in diversity is determined by ‘the law that
would be applied by state courts in the State in which the federal diversity court sits.’”)
(quoting Semtek Int’l Inc. v. Lockheed Martin Corp., 531 U.S. 497, 508 (2001)).


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users12 creates an intra-class conflict, as it did in Bally. The Bally court rejected this

argument, finding, like it did in rejecting State Farm’s pooled mortality arguments, that

whether State Farm’s mortality rates were blended for tobacco use was a common question

of fact (one likewise resolved by the Vogt jury) appropriate for class certification, and

whether State Farm did or did not measure its mortality expectations for the Policy using

blended tobacco considerations does not create an intra-class conflict. Bally, 335 F.R.D. at

300. Notably, Mr. Witt uses rates blended for tobacco/non-tobacco use because State

Farm’s pricing mortality rates—the rates that State Farm told regulators measured its

mortality expectations and that State Farm itself said were the rates onto which it added its

profits and expense loads (Schirger Dec., Ex. C (Vogt Trial Tr.), 111:10-112:13, 113:16-

114:7, 115:3-22, 120:11-121:3, Witt Dec., Ex. G (N.J. Actuarial Memo.) at 3, 5)—

accounted for tobacco use on a blended basis. Schirger Dec., Ex. C (Vogt Trial Tr.), 153:1-

6, 155:4-14, 158:13-159:12.

       Thus, the Court should conclude that Plaintiff and his counsel satisfy the adequacy

requirement, and therefore appoint Plaintiff as the Class Representative and his counsel as

Class Counsel.

VI.    PLAINTIFF SATISFIES THE REQUIREMENTS OF RULE 23(B)(3)

       A.     Predominance is satisfied.

       “The Rule 23(b)(3) predominance inquiry tests whether proposed classes are

sufficiently cohesive to warrant adjudication by representation.” Amchem Prod., Inc. v.


12
  This means the mortality risk related to tobacco use is spread across all policy owners,
or “blended.” Schirger Dec., Ex. C (Vogt Trial Tr.), 162:15-17, 206:5-8; Witt Dec., ¶ 37.


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Windsor, 521 U.S. 591, 623 (1997). Thus, predominance “goes to the efficiency of a class

action as an alternative to individual suits.” Ebert v. Gen. Mills, Inc., 823 F.3d 472, 479

(8th Cir. 2016). When determining whether common questions predominate, the court asks

whether if the plaintiff’s general allegations are true, common evidence could suffice to

make out a prima facie case for the class. See Blades v. Monsanto Co., 400 F.3d 562, 566-

67 (8th Cir. 2005). “When there are issues common to the class that predominate, ‘the

action may be considered proper under Rule 23(b)(3) even though other important matters

will have to be tried separately, such as damages or some affirmative defenses peculiar to

some individual class members.’” Day v. Celadon Trucking Servs., Inc., 827 F.3d 817, 833

(8th Cir. 2016) (quoting Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016))

(emphasis omitted).

              1.      Liability is subject to class-wide determination.

       Because the Policy is a standardized form contract, not subject to individual

negotiation, and analyzed under a single state’s law, the case is replete with common

questions of law and fact that predominate over any individual questions affecting class

members. Courts routinely find that common issues predominate under these

circumstances. See, e.g., Vogt, 2018 WL 1955425, at *6 (“The major portion of the

evidence on the claims for breach of contract, conversion, and declaratory judgment is

capable of consideration on a class wide basis. The terms of the Policy are the same for all

class members. State Farm has not suggested that the determination of COI rates varied on

a case-by-case basis. Thus, common questions predominate.”); Bally, 335 F.R.D. at 304

(finding predominance satisfied; rejecting State Farm’s argument that statute of limitations


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issues defeated predominance); USAA COI, 336 F.R.D. at 555 (finding predominance

satisfied because the class policies were form policies that were subject to interpretation

under a single state’s law, and the insurer’s performance was identical under each policy);

Phoenix COI, 2013 WL 12224042, at *13 (predominance was satisfied because “[t]he

insurance policies at issue contain provisions regarding how COI rates are set and what

Phoenix can consider in making any changes in rates, and these terms are substantively

identical for all the policies held by the members of the Classes”); Transamerica COI, 2017

WL 6496803, at *13 (predominance satisfied because “Plaintiffs’ claims are premised on

Transamerica’s uniform policy language and uniform conduct”); Lincoln Life COI, 330

F.R.D. at 382-83 (predominance satisfied where the “contract language at issue does not

vary by individual class member” and there are “no individualized issues with respect to

defendants’ conduct towards members of the putative class.”); John Hancock COI, 2017

WL 4284163, at *6-7.

                     a)     Common questions predominate Plaintiff’s breach of contract
                            claims.

       The substantive elements of Plaintiff’s breach of contract claims require the same

proof for each class member. “The elements of a breach of contract claim are ‘(1) formation

of a contract, (2) performance by plaintiff of any conditions precedent to his right to

demand performance by the defendant, and (3) breach of the contract by defendant.’” Lyon

Fin. Servs., Inc. v. Illinois Paper and Copier Co., 848 N.W.2d 539, 543 (Minn. 2014)

(quoting Park Nicollet Clinic v. Hamann, 808 N.W.2d 828, 833 (Minn. 2011)). Each of




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these elements will be proven through the same evidence for each class member. This is

precisely what was proven in Vogt, culminating in a class-wide jury verdict.

      Plaintiff’s first breach of contract claim (Count I) requires the same proof for all

class members. Plaintiff contends that the Policy authorizes State Farm to use only the

listed mortality factors when determining the COI rates used to calculate the COI charges

that are deducted from Plaintiff’s Account Value each month. Count I alleges that State

Farm breached and continues to breach the Policy by loading COI rates with non-mortality

factors, including without limitation, expense experience and profit considerations. Compl.

¶¶ 32-40, 58-65.

      Common proof can be used to calculate COI rates that are, as Plaintiff contends is

required by the Policy, based on the mortality factors listed in the Policy, which can then

be compared to the COI rates State Farm actually used for each policy owner to determine

the amount of the non-mortality loads and resulting damages. See Witt Dec., ¶¶ 48-58.

Because the same proof will determine State Farm’s liability and class members’ damages,

common questions predominate over any individual questions.

       Plaintiff’s breach of contract claim brought under Count II likewise requires the

same proof for all class members. Plaintiff contends that the Policy puts a cap on the

amount State Farm may deduct in expenses each month. Count II alleges that State Farm

breaches the Policy’s fixed Expense charge provision by adding expense loads to its

expected mortality to determine its COI rates, thereby imposing unauthorized expenses

through its COI charges. Compl. ¶¶ 42-43, 66-69. The same proof will be used for all class

members to determine whether State Farm, does, in fact, include unauthorized expense


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loads in its COI charges and the amount of such loads. Because the same proof will

determine State Farm’s liability and class members’ damages, common questions

predominate over any individual questions.

              2.     Damages can be determined on a class-wide basis.

       Further demonstrating the predominance of common questions, damages are

capable of being calculated on a class-wide basis (and for each individual class member)

using a common formula. That the specific amount of damages class members suffered

may vary does not preclude certification. See, e.g., Day, 827 F.3d at 833 (8th Cir. 2016). If

Plaintiff establishes State Farm breached its standard form Policy (Counts I and II), each

class member’s claims would require only proof of damages.13 The monetary harm to

policy owners of State Farm’s practice of loading unlisted factors into COI rates, under

Plaintiff’s Counts I-II, can be calculated in a straightforward way for each policy owner by

comparing the COI rates State Farm actually used in determining COI charges with rates

determined using only the factors listed in the Policy, and recalculating Account Values

using the rates that do not include the undisclosed loads. Witt Dec., ¶¶ 28-45. This

calculation can be performed using the policy-level data from administrative systems in

place at State Farm. Id. ¶¶ 46-61. State Farm retains within its administrative systems a

record of, and transaction information related to, premium payments, credited interest rates,

policy loans, and policy charges, among other policy data. Id. at ¶¶ 46-47. Using this data,



13
   In the Vogt case, after the district court certified the Missouri class, it granted partial
summary judgment in favor of the class. See Vogt, Dkt. 335 at 1. The subsequent trial was
limited to the determination of damages. See id.


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Account Values can be recalculated using alternate COI rates, while leaving unchanged the

actual premium payments made, past investment experience, policy loans taken, and other

policy charges. Id. ¶¶ 51-61. This is the same methodology Mr. Witt applied in Vogt and

Bally.

         Because State Farm maintains the data used in this methodology for every class

member, this methodology does not require any class member to provide individualized

evidence. And, although the amount of losses for each policy owner may vary, because the

same methodology and formulas are applied for each policy owner using State Farm’s own

policy owner data, calculating class-wide losses under this methodology is simply an

administrative task capable of being performed on a class-wide basis.14

         In Vogt and Bally, State Farm challenged the reliability of Mr. Witt’s damages

model. Despite its arguments being repeatedly rejected, Plaintiff expects State Farm to

make the same arguments here.15 These arguments should be rejected as a basis to deny

class certification, for the reasons explained below.


14
  The aggregate lost Account Values calculated by Mr. Witt will depend on identification
of policy owners who are or will ultimately be excluded from the Class, either because they
exclude themselves during the opt-out period, or because they are, for example, State Farm
employees who have not yet been identified as such by State Farm.
15
  Each of State Farm’s challenges to the reliability of Mr. Witt’s damages model goes to
the merits of whether the model correctly measures damages, not the Rule 23 question of
whether it is capable of measuring damages on a class-wide basis. See In re Zurn Pex
Plumbing Products Liability Litig., 644 F.3d 604, 613 (8th Cir. 2011) (holding the Court
need not conduct a full Daubert analysis at the class certification stage because any “desire
for an exhaustive and conclusive Daubert inquiry before the completion of merits
discovery cannot be reconciled with the inherently preliminary nature of pretrial
evidentiary and class certification rulings.”). Plaintiff nevertheless addresses these issues
here to provide the Court context to these arguments.


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                     a)      State Farm’s offset affirmative defense premised on the cross-
                             over does not affect the reliability of Plaintiff’s damages
                             model.

       In Vogt and Bally, State Farm argued that the fact that Mr. Witt’s model could

produce an “undercharge” in some months indicates the model does not reliably measure

the portion of the COI that was determined using unlisted factors. State Farm is wrong.

Instead, the rare occurrence of the cross-over simply indicates that State Farm’s COI rates

occasionally did not include a load for unlisted factors. State Farm’s contention that the

cross-over phenomenon is increasing, even if true, is irrelevant to the reliability of Mr.

Witt’s damages model. It simply reinforces Plaintiff’s point that State Farm’s actual COI

rates are not in step with its mortality rates, which are increasing as each policy owner ages.

As both the Vogt and Bally courts found, “that State Farm recoups profits and expenses in

the earlier years of the Policy and refrains from doing so later—when more policies have

lapsed or been surrendered, and when actual mortality costs increase—does not indicate a

flaw in the damages model; instead, it more likely indicates a calculated business decision.”

Vogt, 2018 WL 4937330, at *5; Bally, 335 F.R.D. at 300 (same).

                     b)      Calculating damages for policy owners who selected “Death
                             Benefit Option 1” and for whom a death benefit was paid does
                             not affect the reliability of Plaintiff’s damages model.

       State Farm also argued in Vogt and Bally that Mr. Witt’s damages model was

unreliable because it calculates a lost Account Value for class members who selected Death

Benefit Option 1 when they purchased their policies and were subsequently paid a death

benefit. Upon death, the beneficiary of a Death Benefit Option 1 Policy is entitled only to

the face amount of the policy, regardless of the Account Value. State Farm thus argued that


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these class members should not have been awarded damages. However, as the district court

and Eight Circuit concluded in Vogt, because State Farm deducted COI charges that

included undisclosed loads from these policy owners’ Account Values during their lives,

Mr. Witt’s damages model accurately calculates the amount of their damages. See Vogt,

963 F.3d at 770. Indeed, Plaintiff’s calculation of these class members’ lost Account

Values provides “the most reasonable basis for measuring the harm that was incurred

during the life of the policyholders.” Id. In any event, their presence in the Class does not

impact the propriety of class certification because they are an identifiable group. See Bally,

335 F.R.D. at 300; Vogt, 2018 WL 4937330, at *6.

                     c)     Mr. Witt’s use of State Farm’s unpooled and tobacco-blended
                            pricing mortality rates to measure damages is reasonable and
                            appropriate.

       In Vogt and Bally, State Farm argued that Mr. Witt’s use of State Farm’s pricing

mortality rates to measure damages was incorrect because those rates are unpooled and

tobacco-blended while there is no dispute that State Farm’s actual COI rates are pooled

and tobacco-distinct. Those courts rejected those arguments, concluding that the COI rates

provision’s reference to “policy year,” indicates that the duration of the Policy, i.e., how

long it had been since the Policy was issued, was incorporated into the COI rates, meaning

they must be unpooled, and that the COI rates provision does not reference tobacco use as

a mortality factor on which the COI rates will be differentiated. Vogt, 2018 WL 1747336,

at *6 (finding “the Policy incorporates the duration of the policy as a factor affecting those

rates”); Bally, 335 F.R.D. at 299 (finding “Form 94030 references ‘policy year’ in the

provision describing the factors that go into the monthly COI charges, suggesting that


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Policy year was incorporated into the pricing scheme”); Bally, 335 F.R.D. at 299 (holding

“the blended [tobacco] rates that Witt used reflect the terms of Form 94030, and his use of

those rates comports with plaintiff’s damages theory of COI charges beyond the terms of

the Policy”) (emphasis added); Vogt, 963 F.3d. at 769 (stating that Witt did not

“differentiate between tobacco and non-tobacco users, [and] there was no need for the

damages models to take this mortality factor into account as this was not a mortality factor

listed in the policy”). Thus, State Farm’s challenges “do[] not negatively impact [the]

reliability” of Witt’s methodology. Bally, 335 F.R.D. at 300.

       That classwide damages can be calculated using a methodology that can be applied

mechanically for every class member using State Farm’s policy records supports a finding

that predominance is satisfied.

              3.     Class members’ subjective understandings of the Policy’s terms do
                     not create individualized issues.

       State Farm will also likely contend, as it did in Bally that each class member’s

subjective understanding of the Policy’s terms is relevant to its interpretation, and

therefore, whether State Farm breached the Policy. See Bally, 335 F.R.D. at 301. In other

words, it is State Farm’s contention that the Policy could have different meanings for

different policy owners. Not only would this be an absurd outcome where State Farm has

acted uniformly as to all class members in its performance of its form Policy, it is also

legally incorrect. Under Minnesota law, it is not proper to consider extrinsic evidence when

interpreting an ambiguous insurance policy “where the language used … is chosen by the

insurance company[.]” Garrick v. Northland Ins. Co., 469 N.W.2d 709, 713 (Minn. 1991)



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(quoting Rusthoven v. Commercial Standard Ins. Co., 387 N.W.2d 642, 645 (Minn. 1986)).

“Insurance contracts are contracts of adhesion between parties not equally situated.”

Vierkand by Johnson v. AMCO Ins. Co., 543 N.W.2d 117, 120 (Minn. Ct. App. 1996).

Where an adhesive insurance policy is ambiguous, the policy must be “strictly interpreted

against the insurer.” Rusthoven, 387 N.W.2d at 644-45 (“One of the fundamentals of

insurance law … is that ambiguous language in an insurance policy is to be construed in

favor of the insured.”).

       Further, such construction is an objective exercise, inherently forbidding the

consideration of individualized knowledge or understanding of the terms of the writing. Id.

at 645 (“The result of such a construction, however, must not be beyond the reasonable

expectations of the insured.”) (emphasis added) (citing Atwater Creamery Co. v. Western

Nat. Mut. Ins. Co., 366 N.W.2d 271, 277 (Minn. 1985) (“The result of the lack of insurance

expertise on the part of insureds and the recognized marketing techniques of insurance

companies is that the objectively reasonable expectations of applicants and intended

beneficiaries regarding the terms of insurance contracts will be honored even though

painstaking study of the policy provisions would have negated those expectations.”)

(internal quotations omitted) (emphasis added)).

       Because under Minnesota law the subjective understanding of each class member

as to the meaning of the Policy’s COI rates provision is not admissible to resolve any

ambiguity in the Policy, these subjective understandings do not create individualized issues

that defeat predominance. Likewise, because the Policy itself explicitly and unambiguously

prevents an agent’s statements to a policy owner from having any effect on the meaning of


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the Policy, what an agent may have told a prospective insured, even if otherwise admissible

under Minnesota law, could have no bearing on the interpretation of the Policy. See Policy,

at 11; see also Bally, 335 F.R.D. 288, 302 (N.D. Cal. 2020) (holding that any unwritten

representations by State Farm agents to individual policyholders does not affect the Court’s

interpretation of the form policy at issue); USAA COI, 336 F.R.D. at 556-57 (rejecting

insurer’s argument that agents’ individualized presentations to policyholders defeats

predominance). Accordingly, class members’ subjective understandings of the meaning of

the Policy does not create individualized issues of policy interpretation.

              4.     State Farm’s statute of limitations defense does not create
                     individualized issues.

       Any individualized issues related to the statute of limitations do not defeat

predominance due to State Farm’s fraudulent concealment of the factors it actually used in

calculating Cost of Insurance Rates. See Class Action Complaint at ¶¶ 44-47. “Fraudulent

concealment tolls the statute of limitations until the party discovers, or has a reasonable

opportunity to discover, the concealed defect.” Minn. Laborers Health and Welfare Fund

v. Granite Re, Inc., 844 N.W.2d 509, 514 (Minn. 2014) (internal quotations omitted). “To

establish fraudulent concealment, a plaintiff must prove there was an affirmative act or

statement which concealed a potential cause of action, that the statement was known to be

false or was made in reckless disregard of its truth or falsity, and that the concealment could

not have been discovered by reasonable diligence.” Haberle v. Buchwald, 480 N.W.2d 351,

357 (Minn. Ct. App. 1992).




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       As the Eighth Circuit ruled in Vogt, no diligent policyholder could have discovered

State Farm’s wrongdoing here. 963 F.3d at 765 (“Although, with the help of an attorney

and an actuarial expert, Vogt was ultimately able to determine that the COI fees included

non-enumerated factors, there is no evidence in the record that would have placed a

reasonably prudent person on notice of a potentially actionable injury simply based on the

rising COI fees and annual statements.”) (internal quotations omitted).16

       As there is no reliance requirement for fraudulent concealment in Minnesota, that

just leaves the question of whether State Farm engaged in affirmative acts of concealment

and whether the statement was known to be false or was made in reckless disregard of its

truth or falsity, questions which focus solely on State Farm’s conduct—therefore

presenting class-wide issues. See USAA COI, 336 F.R.D. at 556 (certifying the class of

policyholders to pursue a fraudulent concealment theory where there is no reliance

requirement for fraudulent concealment under Texas law).17



16
   Even if this Court concluded otherwise, individual issues which arise in relation to an
allegation of fraudulent concealment, such as discovery and diligence, “are not so
problematic as to frustrate the efficacy of pursuing a class action resolution of this
controversy. Rule 23(b)(3) does not require that common questions be dispositive or
significant; it only requires that common questions predominate.” In re Potash Antitrust
Litig., 159 F.R.D. at 699 (Concluding “common issues of law and fact predominate over
individual issues related to Plaintiffs’ proof of fraudulent concealment.”).
17
  Additionally, if this Court concludes fraudulent concealment could not be resolved class-
wide, a class limited to policies active during the last six years prior to the filing of the
complaint should be certified. State Farm had an “ongoing obligation” to charge cost of
insurance rates as specified in the policy and “a breach of contract occurred each year when
the insured was charged a [cost of insurance] rate that exceeded the rate specified[.]” See
Advance Trust & Life Escrow Services, LTA v. ReliaStar Life Ins. Co., No. 18-cv-02863,
2020 WL 5229677, at *10 (D. Minn. Sept. 2, 2020) (citing Levin v. C.O.M.B. Co., 441
N.W.2d 801, 803 (Minn. 1989) (“[Plaintiff] complains of a series of breaches, … each of

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       Thus, State Farm’s statute of limitations defense does not undermine the

predominance of the common issues.

              5.     Superiority is satisfied.

       Finally, Rule 23(b)(3) requires that a class action be superior to other methods of

adjudication, an analysis that “encompasses the whole range of practical problems that may

render the class action format inappropriate for a particular suit.” Eisen v. Carlisle &

Jacquelin, 417 U.S. 156, 164 (1974). In determining whether superiority is satisfied, a court

considers: “(A) the class members’ interests in individually controlling the prosecution or

defense of separate actions; (B) the extent and nature of any litigation concerning the

controversy already begun by or against class members; (C) the desirability or

undesirability of concentrating the litigation of the claims in the particular forum; and (D)

the likely difficulties in managing a class action.” Rule 23(b)(3).

       Because this case involves a form contract and uniform Minnesota law governing

its interpretation, a class action will be just as manageable as a single plaintiff case. There

are no other class actions pending against State Farm making the claims asserted here on

behalf of a Minnesota class. In addition, because all class members’ policies were issued

in Minnesota, concentrating this litigation in Minnesota is desirable. Class certification will

greatly benefit the many policy owners, all of whom are in the dark about how State Farm

calculates COI charges because State Farm never discloses its COI rates or the factors it

uses to determine them, and all have an interest in securing the just adjudication of their


which … could have occurred only at the close or at some date after the close of a contract
year. Thus, Levin asserts separate causes of action with different accrual dates.”)).


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rights as against State Farm. See Bally, 335 F.R.D. at 305; Vogt, 2018 WL 1955425, at *7;

USAA COI, 336 F.R.D. at 558 (all finding superiority satisfied).

              6.     Rule 23(b)(2) Is Satisfied.

       With respect to Plaintiff’s claim for declaratory judgment and injunctive relief at

Count IV, the proposed Class satisfies Rule 23(b)(2) because State Farm “has acted or

refused to act on grounds that apply generally to the class, so that final injunctive or

corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R.

Civ. P. 23(b)(2). Determination of the merits of Count IV will turn on the same evidence

supporting Counts I and II. As such, certification of Count IV under Rule 23(b)(2) is

appropriate. See Vogt, 2018 WL 1955425, at *7 (certifying the plaintiff’s declaratory

judgment claim under 23(b)(2) for purposes of interpreting the Policy because “the terms

of the Policy are the same for all potential class members, [and therefore] the interpretation

will result in one declaratory judgment applicable to all class members”); Bally, 335 F.R.D.

at 305 (same, stating: “The terms of Form 94030 are the same for all prospective Class

members, so an injunction or declaration relating to the contract terms will be uniform.”);

USAA COI, 336 F.R.D. at 558-59 (approving of “‘divided certification,’ certifying the

damages claims under Rule 23(b)(3) while certifying the injunctive relief under 23(b)(2)”).

VII.   CONCLUSION

       Because all of the required elements of Rule 23 are satisfied, Plaintiff’s motion for

class certification should be granted, and Plaintiff Jaunich should be appointed as the Class

Representative and his counsel appointed as Class Counsel.




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Dated: June 16, 2021              Respectfully submitted,
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